                     Case 2:13-mj-00301-PAL                       Document 12               Filed 05/07/13              Page 1 of 1

AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                  __________ District of NEVADA

                   United States of America                                    )
                              v.                                               )       Case No. 2:13-mj-00301-PAL
                                                                               )
                        CHEUK YIN KO
                                                                               )       Charging District: Western District of Washington
                              Defendant                                        )       Charging District’s Case No. CR 13 138 MJP


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place: Western District ofthWashington                                                 Courtroom No.: AS ORDERED
       700 Stewart St., 12 floor
       Seattle, WA                                                                     Date and Time: 5/22/13 at 9:30 a.m.

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:      May 17, 2013
                                                                                                           Judge’s signature


                                                                                     PEGGY A. LEEN, U.S. MAGISTRATE JUDGE
                                                                                                        Printed name and title
